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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
___________________________________________
KENNETH LINSLEY,                            )  CASE NUMBER:
INDIVIDUALLY AND ON BEHALF OF               )  3:11-CV-00961-VLB
ALL OTHERS SIMILARLY SITUATED,              )
      Plaintiff                             )
                                            )
v.                                          )
                                            )
FMS INVESTMENT CORP.                        )
      Defendant                             )
___________________________________________)   JULY 24, 2014


              REPORT OF DISTRIBUTION OF SETTLEMENT FUNDS

      The undersigned Class Counsel hereby submits his report to the Court

regarding the distribution of Settlement Funds. On July 2, 2014, First Class, Inc.

distributed the Settlement Funds in equal shares of $42.40 to the 1,052 Class

Members for whom good addresses were obtained.

      All returned funds or un-cashed settlement checks shall be paid to the

Connecticut Bar Foundation in accordance with the Settlement Agreement.

                                      CLASS COUNSEL,


                                    By: /s/ Daniel S. Blinn
                                       Daniel S. Blinn, Fed Bar No. ct02188
                                       dblinn@consumerlawgroup.com
                                       Consumer Law Group, LLC
                                       35 Cold Spring Road, Suite 512
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                                       Fax. (860) 571-7457
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of July, 2014, a copy of the foregoing
Report of Distribution of Settlement Funds was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.


                                       /s/ Daniel S. Blinn
                                         Daniel S. Blinn




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